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                     EXHIBIT H
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

    IRA KLEIMAN, as the personal representative               CASE NO.: 9:18-cv-80176-BB
    of the Estate of David Kleiman, and W&K Info
    Defense Research, LLC

           Plaintiffs,

    v.

    CRAIG WRIGHT

           Defendant.

                               PLAINTIFF’S INTERROGATORIES
                               TO DEFENDANT CRAIG WRIGHT

          Pursuant to Federal Rule of Civil Procedure 33, Plaintiff W&K Info Defense Research

   hereby requests that Defendant Craig Wright (“Defendant”) deliver to Plaintiff his sworn answers

   to the following Interrogatories within 30 days of service of these requests. These requests are

   continuing in nature: responsive information discovered subsequent to service of Defendant’s

   answers hereto shall be disclosed through supplemental responses within thirty (30) days of

   discovery, as required by Federal Rule of Civil Procedure 26(e).
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                                            DEFINITIONS

          1.      The terms “You,” “your,” “Defendant,” “Dr. Wright,” and “Craig” mean the

   Defendant Craig Wright, and includes the agents, employees, partners, and affiliates of Defendant

   and all other persons (as defined herein) acting or purporting to act on behalf of Defendant or who

   are subject to the direction or control of Defendant.

          2.      The terms “document” or “documents” shall be synonymous in meaning, equal in

   scope and shall have the broadest meaning ascribed to them by Federal Rule of Civil

   Procedure 34(a). This shall include, without limitation, the following items, whether printed or

   reproduced by any process, or written or produced by hand or stored in computer memory,

   magnetic or hard disk or other data storage medium, and whether or not claimed to be privileged,

   confidential or otherwise excludable from discovery, namely: electronic or computerized data

   compilations, notes, letters, correspondence, communications, e-mails, text messages,

   memoranda, summaries of telephone conversations, records of telephone conversations,

   summaries or records of personal conversations or meetings, diaries, reports, laboratory and

   research reports and notebooks, recorded experiments, charts, plans, drawings, diagrams,

   schematic diagrams, illustrations, product descriptions, technology roadmaps, design documents,

   product analyses, white papers, requests for proposal, technical tutorials, writings related to

   proposed or actual product improvements or changes, user manuals or guides, installation guides

   or manuals, technical descriptions or specifications, product repair manuals or guides,

   photographs, video images, business flow charts or descriptions or specifications, product

   functions or descriptions or specifications, minutes or records of meetings, summaries of

   interviews, reports or investigations, opinions or reports of consultants, reports of trademark



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   searches, trademark application materials, opinions of counsel, agreements, reports or summaries

   of negotiations, brochures, pamphlets, advertisements, circulars, trade letters, press releases, sales

   and purchase orders, receipts, invoices, quotations, estimates, leases or consignments, drafts of

   any of the foregoing documents, and all other material fixed in a tangible or electronic medium of

   whatever sort or type in the possession, custody or control of Defendant or any of their

   representatives, whether or not prepared by Defendant. "Document" or "Documents" also includes

   all non-identical copies of the foregoing, such as those bearing comments, postscripts, changes,

   amendments, addenda, or other notations not present on the original document as initially written,

   typed or otherwise prepared.

           3.        “Employee” means any director, trustee, officer, employee, partner, corporate

   subsidiary, affiliate, or servant of the designated entity, whether active or retired, full-time or part-

   time, current or former, and compensated or not.

           4.        “Representative” means any consultant, expert, attorney, contractor, salesperson,

   or other individual or entity engaged by the designated entity to perform some task or assignment

   for the entity.

           5.        “Entity” means any corporation, company, partnership, proprietorship, joint

   venture, or business, as well as any governmental unit.

           6.        “Individual” means a human being unless Defendant cannot identify such

   individual by name. In such case, "individual" shall mean the entity with which such individual

   was or is employed, engaged or associated. "Individual" includes, without limitation, employees

   and representatives.




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           7.      “Person” means any natural or corporate person, and shall include any corporation,

   partnership, proprietorship, firm, trust, association, government entity, organization, or group of

   any of the aforesaid "Persons."

           8.      The terms “identify” and “identification,” when used in reference to a natural

   person, shall include stating his or her full name, residence and business telephone numbers,

   present residence and business addresses, if known, his or her present or last known title, position,

   and business affiliation.

           9.      The terms “identify” and “identification,” when used in reference to someone other

   than a natural person, mean to state the full and official name of the business entity, its principal

   place of business, and the main telephone number of such business entity.

           10.     The terms “identify” and “identification,” when used in reference to a document,

   mean to state its date, type (e.g., memo, telecopy, email), authors, addressees or recipients, title, if

   any, and, if no title, a brief description of the subject matter of the document, its present or last

   known location and custodian, and its Bates number if produced in this litigation. If any document

   once was, but is no longer, in Your possession, custody, or control, state what disposition was

   made of it and the reason for such disposition.

           11.     The terms “identify” and “identification,” when used in reference to any act,

   activity, practice, policy, effort, event, transaction, negotiation, discussion, conversation, occasion,

   occurrence, meeting, representation, agreement, or communication, mean to: (a) describe the

   nature and substance of the act, activity, practice, policy, effort, event, transaction, negotiation,

   discussion, conversation, occasion, occurrence, meeting, representation, agreement, or

   communication; (b) state the date when and place where it occurred; (c) identify each person who



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   was a participant therein; (d) identify each other person who was a witness thereto; and (e) state

   the amount of money, if any, paid to or from Defendant in connection with the act, activity,

   practice, policy, effort, event, transaction, negotiation, discussion, conversation, occasion,

   occurrence, meeting, representation, agreement, or communication.

            12.   “Refer to” and “relate to” include the following: pertain to, make reference to, refer

   to, relate to, concern, comprise, evidence, allude to, respond to, connect with, comment on, with

   respect to, are about, regard to, result from, embody, explain, support, discuss, show, describe,

   reflect, analyze, constitute, set forth, or have any logical or factual connection with the subject

   matter in question.

            13.   The term “any” or “each” should be understood to include and encompass “all.”

            14.   The term “including” should be understood to mean “including but not limited to.”

            15.   The singular includes the plural number and vice versa, any use of gender includes

   both genders, and a verb tense includes all other verb tenses where the clear meaning is not

   distorted by addition of another tense or tenses.

            16.   Whenever the conjunctive is used, it shall also be taken in the disjunctive, and vice

   versa.

            17.   Unless otherwise stated, terms shall be given the same meaning as they have in

   Defendant’s Amended Answer to the Second Amended Complaint, D.E. [87].




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                                            INSTRUCTIONS

           1.       These interrogatories call for all information in Your possession, custody, or

   control, or in the possession, custody, or control of Your attorneys, agents, employees, officers,

   directors, or representatives, or other persons acting under Your authorization, employment,

   direction, or control.

           2.       If You are unable to answer any of these interrogatories in whole or in part after

   reasonable inquiry to secure the information requested, You should answer, to the extent possible,

   explaining why You are unable to answer in full, and provide whatever information that You have

   concerning the unanswered portion.

           3.       If You object to any interrogatory, state the ground(s) of the objection with

   sufficient specificity to permit the determination of the basis for such objection. Objection to a

   portion of any interrogatory does not relieve You of the duty to respond to the parts to which You

   do not object.

           4.       If You withhold any document and/or information because You claim that it is

   protected by the work product doctrine, the attorney-client privilege, or any other privilege or

   protection, identify the document and/or information by description, date, author or source, a brief

   description of the nature and subject matter of the document and/or information in sufficient detail

   to permit other parties to this action to assess the applicability of the asserted privilege or

   immunity, and state the ground(s) on which You base Your claim of privilege or protection.

           5.       In the event that an interrogatory answer requires, in whole or in part, Your review

   of a document which is known to have existed and cannot now be located or has been destroyed

   or discarded, that document shall be identified by:



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          (a)     the last known custodian;

          (b)     date of destruction or discard;

          (c)     the manner of destruction or discard;

          (d)     the reason(s) for destruction or discard;

          (e)     the efforts made to locate any documents that have been lost or misplaced;

          (f)     a statement describing the document, including a summary of its contents;

          (g)     the identity of its author(s); and

          (h)     persons to whom it was sent or shown.

          6.      With respect to the answer to each interrogatory or subpart thereof, state the source

   of the information given therein with as much particularity as is reasonably possible, including,

   without limitation, the nature and designation of any files that contain such information, and the

   identification of each person or entity that provided any information included in such answer. In

   addition, identify each other person known or believed to have some or all of the information

   sought in such interrogatory or subpart thereof.

          7.      Where an identified document has been destroyed or is alleged to have been

   destroyed, state the reasons for its destruction, the names of the persons having any knowledge of

   its destruction, and the names of the persons responsible for its destruction.

          8.      Where an identified document is not in Your possession, custody, or control, state

   the names of the person(s) or entity(ies) who have possession, custody, or control of such

   document. If such document was in Your possession, custody, or control in the past but is no

   longer in Your possession, custody, or control, state what disposition was made of it, the reasons




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   for such disposition, identify any person(s) or entity(ies) having any knowledge of such

   disposition, and identify the person(s) or entity(ies) responsible for such disposition.

          9.         If You object to any part of an interrogatory and refuse to answer that part, state

   Your objection, and answer the remaining portion of that interrogatory. If You object to the scope

   or time period of an interrogatory and refuse to answer for that scope or time period, state Your

   objection and answer the interrogatory for the scope or time period You believe is appropriate

   (including in Your answer a specific statement as to why You believe the scope or time period is

   inappropriate).

          10.        If any of the following interrogatories cannot be answered in full after exercising

   due diligence to secure the information, please so state and answer, to the extent possible,

   specifying Your inability to answer the remainder and stating whatever information You have

   concerning the unanswered portions. If Your answer is qualified in any particular way, set forth

   the details of such qualification.

          11.        Whenever an interrogatory requests the identity of a natural person, state to the

   extent known, his or her:

          (a)        full name;

          (b)        present or last known home address;

          (c)        present or last known business address;

          (d)        present or last known employer; and

          (e)        if employed by the Defendant, the periods of time so employed, and the area(s) of

          responsibility during such times.




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            12.     Whenever an interrogatory requires the identity of a subsidiary, company,

    corporation, partnership, or other business entity, state to the extent known: its full name; address;

    location of its corporate headquarters; location of its principal place of business; location of the

    division(s), branch(es), or office(s) which is(are) connected with or handled the matter(s) referred

    to in the interrogatory; and identify the person(s) acting or purporting to act on behalf of the

    business entity in connection with the matter(s) referred to in the interrogatory.

            13.     Whenever an interrogatory requests the identity of a communication, state whether

    the communication was written or oral. If written, identify the document or documents in which

    the communication was made or requested. If oral, state to the extent known:

            (a)     the manner in which the communication was made, e.g., in person, by telephone,

            etc.;

            (b)     the identity of each person who participated in or witnessed the communication;

            (c)     the present location of each person who participated in or witnessed the

            communication; and

            (d)     the date of the communication.

            14.     Whenever an interrogatory refers to or seeks to identify any fact (e.g., a description

    of an act, transaction, occurrence, dealing, or instance), state the date, including year, month, and

    day, when it occurred; the place where it occurred; the identity of each person participating therein;

    on whose behalf each said person participated or purported to participate; the nature, subject

    matter, and circumstances surrounding it; the nature and substance of all conversations or oral

    communications occurring during, or in connection with it; and identify all documents relating

    thereto or reflecting it.



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           15.     If You answer any interrogatory by reference to records from which the answer

    may be derived or ascertained, as permitted in Fed. R. Civ. P. 33(d):

           (a)     identify any such records by their corresponding Bates number(s) or otherwise to

           allow the documents to be easily identified;

           (b)     make available any computerized information or summaries;

           (c)     provide any relevant compilations, abstracts, or summaries in Your possession,

           custody, or control; and

           (d)     make the records available for inspection and copying within seven (7) days after

           service of the answers to these interrogatories.

           16.     These interrogatories are deemed to be continuing, and pursuant to the obligations

    imposed by Rule 26(e) of the Federal Rules of Civil Procedure, You are required to promptly

    supplement Your responses with information as requested herein that may become known or

    available to You after the date of Your initial answers to these interrogatories.




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                                          INTERROGATORIES

    INTERROGATORY NO. 8:

           Identify all factual bases, including all witnesses and documents,1 supporting Your

    contention that Plaintiffs’ claims are barred by the applicable statute of limitations.

    INTERROGATORY NO. 9:

           Identify all factual bases, including all witnesses and documents, supporting Your

    contention that Plaintiffs’ claims are barred by the doctrine of laches.

    INTERROGATORY NO. 10:

           Identify all factual bases, including all witnesses and documents, supporting Your

    contention that Dr. Wright acted in good faith to effectuate David Kleiman’s intent after David

    Kleiman’s death even if the 2011 Intellectual Property License Funding Agreement, the 2012 Deed

    of Loan, and the 2013 Contract for the Sale of Shares of Company Owning Business are unenforceable.

    INTERROGATORY NO. 11:

           Identify all factual bases, including all witnesses and documents, supporting Your

    contention that Plaintiffs’ claims are barred by accord and satisfaction because, by agreement,

    Plaintiffs received shares in a corporation from Dr. Wright as compensation for rights of David

    Kleiman.




           1
             Identification of documents should, as described in the definitions above, include Bates
    numbers for documents produced in this litigation including in response to Plaintiffs’ Requests
    for Production.

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    INTERROGATORY NO. 12:

            Identify all factual bases, including all witnesses and documents, supporting Your

    contention that Plaintiffs, by accepting shares in a corporation from Dr. Wright as compensation for

    rights of David Kleiman, released Dr. Wright.

    INTERROGATORY NO. 13:

            Identify all factual bases, including all witnesses and documents, supporting Your

    contention that Plaintiffs’ claims are barred because they received payment in the form of shares in a

    corporation.

    INTERROGATORY NO. 14:

            Identify all factual bases, including all witnesses and documents, supporting Your

    contention that Plaintiffs’ claims are barred by accord and satisfaction because, by agreement,

    Plaintiffs received shares in a corporation from Dr. Wright as compensation for rights of David

    Kleiman.

    INTERROGATORY NO. 15:

            Identify all factual bases, including all witnesses and documents, supporting Your

    contention that Plaintiffs’ damages, if any, are set-off by their receipt of shares in a corporation from

    Dr. Wright as compensation for rights of David Kleiman.

    INTERROGATORY NO. 16:

            Identify all factual bases, including all witnesses and documents, supporting Your

    contention that Plaintiffs failed to mitigate their alleged damages because Plaintiffs failed to sell the

    shares in the corporation they received from Dr. Wright as compensation for rights of David Kleiman

    when offered money in exchange for those shares.




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    INTERROGATORY NO. 17:

            Identify all factual bases, including all witnesses and documents, supporting Your

    contention that Plaintiffs’ claims are barred by waiver because Plaintiffs accepted shares in a

    corporation as satisfaction of David Kleiman’s rights and/or “waited years to file this action.”

    INTERROGATORY NO. 18:

            Identify all factual bases, including all witnesses and documents, supporting Your

    contention that Plaintiffs are estopped from asserting claims of fraud because they were aware of the

    Australian Taxation Office investigation, as well as the New South Wales lawsuit against W&K Info

    Defense Research, LLC, no later than April 2014, and took no action in those proceedings that are in

    any way consistent with the allegations they now make about those proceedings in this action.

    INTERROGATORY NO. 19:

            Identify all factual bases, including all witnesses and documents, supporting Your

    contention that Plaintiffs’ claims are barred by the doctrine of unclean hands.

    INTERROGATORY NO. 20:

            Identify all factual bases, including all witnesses and documents, supporting your

    contention that Plaintiffs’ alleged oral partnership agreement is barred by the statute of frauds because

    there was no written partnership agreement between You and David Kleiman and/or W&K Info

    Defense Research, LLC.



                                                        Respectfully submitted,
    Dated: March 11, 2020
                                                        By: /s/ Velvel (Devin) Freedman
                                                        Velvel (Devin) Freedman, Esq.
                                                        ROCHE CYRULNIK FREEDMAN LLP
                                                        200 S. Biscayne Blvd.


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                                          Counsel to Plaintiffs Ira Kleiman as
                                          Personal Representative of the Estate of
                                          David Kleiman and W&K Info Defense
                                          Research, LLC.




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                                    CERTIFICATE OF SERVICE

                   I HEREBY CERTIFY that on March 11, 2020, a true and correct copy of the
    foregoing was served on all counsel of record identified on the Service List below via e-mail:

     Andres Rivero, Esq.
     Amanda McGovern, Esq.
     Zaharah Markoe, Esq.
     Zalman Kass, Esq.
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     zmarkoe@riveromestre.com
     zkass@riveromestre.com
     receptionist@riveromestre.com

                                                      /s/ Velvel (Devin) Freedman
                                                      Velvel (Devin) Freedman




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                                   NOTARY ATTESTATION


           I, ________________________________, DO HEREBY AFFIRM THAT THE
    ANSWERS TO ALL OF THE ABOVE INTERROGATORIES ARE TRUE AND CORRECT TO
    THE BEST OF MY PERSONAL AND PROFESSIONAL KNOWLEDGE.




    State of          )
                      )
     County of        )
    The foregoing instrument was acknowledged before me on this _____________ day of
    _____________, 2018, by ________________________, who is personally known to me or has
    produced ____________________________ as a valid form of identification for these purposes.
    (Please indicate)



    _______________________________________
    Notary public sign


    _______________________________________
    Notary public print


    _______________________________________
    Commission number and expiration date of same




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